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                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

   Case No. SA CV 22-00099-DOC-DFM                                                 Date: October 28, 2022

   Title: JOHN EASTMAN V. BENNIE THOMPSON ET AL.


   PRESENT:

                         THE HONORABLE DAVID O. CARTER, JUDGE

                     Karlen Dubon                                           Not Present
                      Courtroom                                            Court Reporter
                         Clerk

          ATTORNEYS PRESENT FOR                                 ATTORNEYS PRESENT FOR
                PLAINTIFF:                                           DEFENDANT:
               None Present                                           None Present


           PROCEEDINGS (IN CHAMBERS): ORDER DENYING MOTION TO
                                      RECONSIDER OR, IN THE
                                      ALTERNATIVE, FOR A STAY [373]

          On October 19, 2022, the Court ordered Dr. Eastman to produce to the Select
   Committee certain emails, including eight pursuant to the crime fraud exception
   (“Order”) (Dkt. 372). The Court ordered Dr. Eastman to produce these documents by
   2:00 p.m. PST on October 28, 2022. Id. On October 27, 2022, Dr. Eastman filed a motion
   asking the Court to reconsider its ruling pertaining to crime-fraud or, in the alternative, to
   stay enforcement of the Order pending Dr. Eastman’s appeal of the Order to the Ninth
   Circuit. Motion for Reconsideration or Stay (“Motion” or “Mot.”) (Dkt. 373). In support
   of his motion, Dr. Eastman filed a sworn affidavit under seal, (“Affidavit”) (Dkt. 374-1),
   in which he contends provides “the relevant context” that “shows that this ruling was
   clearly erroneous.” See Motion at 2. 1


   1
     Specifically, the Affidavit “identifies specific documents previously submitted for the court’s in camera
   review that explain the true import of the email record surrounding the Presidential certification” and “the
   purpose for the filing of the complaint in that case.” Motion at 2. Dr. Eastman files this affidavit under
   seal because it “includes the content of communications that this Court has held to be privileged.” Motion
   at 2 n.1. This case arises out of privileges asserted by Dr. Eastman. To the extent that Dr. Eastman wishes
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          Dr. Eastman’s motion fails to meet the standards governing motions for
   reconsideration or a stay. A stay is an equitable remedy not available as a matter of right,
   and the Court must balance the remedy sought against Congress’s “uniquely vital interest
   in studying the January 6th attack on itself to formulate remedial legislation and to
   safeguard its constitutional and legislative operations” without undue interference from
   federal courts. See Trump v. Thompson, 20 F.4th 10, 17 (D.C. Cir. 2021), cert. denied,
   142 S. Ct. 1350 (2022); Hill v. McDonough, 547 U.S. 573, 574–75 (2006).

         Because Dr. Eastman does not meet the standards under Local Rule 7-18 or
   Federal Rule of Civil Procedure 62(c), the Court DENIES the motion.

       I.        DISCUSSION

            A.     Motion For Reconsideration

          Dr. Eastman requests reconsideration under Central District of California Local
   Rule 7-18 (c), which permits reconsideration upon “a manifest showing of a failure to
   consider material facts presented to the Court before the Order was entered.” C.D. Cal. R.
   7-18. In his affidavit, Dr. Eastman identifies certain emails that he notes were “previously
   submitted for the court’s in camera review that explain the true import of the email
   record surrounding the Presidential certification.” Id. at 2. This “full email record,”
   according to Dr. Eastman, “clearly shows that the President’s lawyers took great care to
   ensure all court filings were accurate,” and “that the legal filings were all designed to
   obtain a ruling from the court on the contested election challenges.” Id.

          In ruling that the crime-fraud exception applies, the Court has considered every
   document that the parties identified in the over 30 privilege logs they submitted in this
   action. See Privilege Logs, Dkts. 67, 68, 74, 84, 95, 100, 107, 119, 122, 127, 124, 138,
   142, 143, 148, 151, 163, 179, 204, 216, 221, 226, 236, 241, 245, 249, 254, 263, 267, 272,
   276, 279, 284, 298, 302, 206, 310, 312, 342.

          Out of the 1272 documents the parties specifically requested rulings on, the Court
   found that the crime-fraud exception applies to 10 documents. Dr. Eastman’s affidavit,
   which provides his version of events in the last few days of December 2020, points to

   to disclose more communications to clarify his role vis a vis President Trump, his campaign, or other
   attorneys, nothing prohibits Dr. Eastman from seeking the necessary approvals to waive the privileges
   where appropriate.
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   emails already considered by the Court in reaching its decision. Mot. Ex. 1 (Dkt. 374-1).
   The Court “strictly confined” the “scope of the privilege . . . within the narrowest
   possible limits.” United States v. Christensen, 828 F.3d 763, 803 (9th Cir. 2015). Dr.
   Eastman’s affidavit presents no evidence that the Court “manifestly failed” to consider
   when ruling that the crime-fraud exception applies.

        Because Dr. Eastman fails to carry his burden under Rule 7-18(c), the Court
   DENIES his motion for reconsideration.

          B.     Motion for a Stay

          In the alternative, Dr. Eastman requests a stay under Federal Rule of Civil
   Procedure 62(c), which provides in relevant part that “[u]nless the Court orders
   otherwise,” “an interlocutory or final judgment in an action for an injunction” is “not
   stayed after being entered, even if an appeal is taken.” Fed. R. Civ. P. 62(c)(1).

           The Court’s standard for granting a stay is familiar. Supreme Court precedent has
   “distilled” the legal principles for issuing stays pending appeal into consideration of four
   factors: (1) whether the stay applicant has made a strong showing of likelihood of success
   on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3)
   whether issuance of the stay will substantially injure the other parties interested in the
   proceeding; and (4) where the public interest lies. Nken v. Holder, 556 U.S. 418, 434
   (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776, (1987)). “The first two factors of
   the traditional standard are the most critical.” Id. In applying these factors, the Ninth
   Circuit employs a “sliding scale” approach. The factors are balanced such that a stronger
   showing of one element may offset a weaker showing of another. Leiva-Perez v. Holder,
   640 F.3d 962, 964-66 (9th Cir. 2011). In other words, “the required degree of irreparable
   harm increases as the probability of success decreases.” Nat. Res. Def. Council, Inc. v.
   Winter, 502 F.3d 859, 862 (9th Cir. 2007); see Al Otro Lado v. Wolf, 952 F.3d 999, 1007
   (9th Cir. 2020) (“We first consider the government’s showing on irreparable harm, then
   discuss the likelihood of success on the merits under the sliding scale approach”).
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                 1.      Likelihood of Success on the Merits

          Dr. Eastman does not carry his burden of showing a likelihood of success on the
   merits, because the contents of the affidavit do not alter the Court’s conclusion.

           In issuing the Order, the Court followed the Ninth Circuit’s test for applying the
   crime-fraud exception and determined that the Select Committee had (1) made a prima
   facie showing that Dr. Eastman and President Trump engaged in criminal or fraudulent
   conduct when seeking the advice of counsel and creating attorney work product; and (2)
   identified categories of communications and attorney work product that may not be
   protected from discovery because they were sufficiently related to and in furtherance of a
   crime or fraud. See Order Re Privilege of Remaining Documents (“Order”) (Dkt. 372 at
   14) (citing In re Grand Jury Investigation, 810 F.3d 1110, 1113 (9th Cir. 2016)).

          Dr. Eastman does not challenge the Court’s finding of “a prima facie case of
   crime-fraud,” which can be made “either by examining privileged material in camera or
   by examining independent, non-privileged evidence.” See In re Grand Jury Investigation,
   810 F.3d at 1113. Nor does Dr. Eastman challenge the preponderance of the evidence
   standard, which the Court applied in finding that eight emails were sufficiently related to
   and in furtherance of a crime or fraud.

          Accordingly, this factor weighs against granting a stay.

                 2.      Irreparable Harm

          Dr. Eastman argues that “[d]isclosure of privileged information is itself and (sic)
   irreparable injury.” Mot. at 5.

          Speculative injury, however, cannot be the basis for a finding of irreparable harm.
   In re Excel Innovations, Inc., 502 F.3d 1086, 1098 (9th Cir. 2007) (citing Goldie's
   Bookstore, Inc. v. Superior Court, 739 F.2d 466, 472 (9th Cir.1984)). “Nor is such a
   ‘generalized interest in confidentiality’ . . . sufficient for a court to cast aside the January
   6th Committee's exercise of core legislative functions.” Trump v. Thompson, 20 F.4th at
   38 (quoting United States v. Nixon, 418 U.S. 683, 711 (1974)).

          Accordingly, this factor weighs against granting a stay.
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                 3.     Harm to the Committee and Public Interest

          In his Motion, Dr. Eastman suggests that the only harm to the Select Committee
   “would be merely a delay in its receipt of documents,” and that the public interest lies in
   granting a stay. Mot. at 6–7. Not so.

          The Select Committee here had requested expedited briefing “in light of the
   limited time remaining for the Select Committee to complete its work before January 3,
   2023, the date on which the 117th Congress ends.” Motion for In Camera Review of
   Documents Held in Abeyance (Dkt. 366). Courts accordingly “must take care not to
   unnecessarily ‘halt the functions of a coordinate branch.’” Id. (quoting Eastland v. United
   States Servicemen's Fund, 421 U.S. 491, 511 n.17 (1975)).

           The importance of the Committee’s work led the D.C. Circuit to reject arguments
   similar to Dr. Eastman’s in the context of executive privilege, noting that “[e]ven under
   ordinary circumstances,” there is “a strong public interest in Congress carrying out its
   lawful investigations.” Trump v Thompson, 20 F.4th at 48 (citing McGrain v. Daugherty,
   273 U.S. 135, 174 (1927)). The public interest is “heightened,” moreover, when “the
   legislature is proceeding with urgency to prevent violent attacks on the federal
   government and disruptions to the peaceful transfer of power.” Id. Citing Supreme Court
   precedent, the D.C. Circuit made clear that “Congress's desire to restore public
   confidence in our political processes by facilitating a full airing of the events leading to
   such political crises constitutes a substantial public interest.” Id. (internal quotation marks
   omitted) (citing Nixon v. Adm'r of Gen. Servs., 433 U.S. at 453 (1977)).

           Having weighed the factors above, the Court finds that Dr. Eastman has failed to
   establish a likelihood of success on the merits and irreparable harm, and that the balance
   of interests weighs against granting a stay. Accordingly, the Court DENIES the motion
   for a stay pending appeal.
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      II.       DISPOSITION

         Because Dr. Eastman presents no evidence warranting reconsideration under Local
   Rule 7-18(c) or a stay under Federal Rule of Civil Procedure 62(c), the Court DENIES
   the Motion. (Dkt. 373).

            The Clerk shall serve this minute order on the parties.


    MINUTES FORM 11                                                   Initials of Deputy Clerk: kdu

    CIVIL-GEN
